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              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF NEW YORK
                     .------x
               YISRAEL BARON

                                                      Petitioner,                    Case. No. CV 18-4321

               -against


               Cl-lANA SlIALMONI BARON

                                                      Respondent.
                     —       —                                         y


               Judrze ALLYNE R. ROSS. US.D.]



                       WHEREAS Petitioner has submitted a Petition in the matter captioned above seeking an

               order directing return of the parties’ minor children, fRZB born July 2015, and AB born August

               2016; hereinafter “the children”) to Israel in accordance with the Hague Convention on the Civil

               Aspects of International Child Abduction (“the Hague Convention”) and its implementing legis

               lation, 22 U.S.C. 9002 et seq.; and

                       WHEREAS the country of habitual residence of the children, as this term is used in the

               Hague Convention is Israel; and

                      WHEREAS the “home state” of the children as used in the Uniform Child Custody Juris

               diction Enforcement Act (UCCJEA) is Israel; and

                       WHEREAS the parties intend for Israel to continue to be the children’s country of habit

               ual residence at least until such time as the children have returned to Israel pursuant to this stipu

               lation; and




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                WHEREAS Respondent has waived any defenses she may have otherwise raised pur

        suant to the Hague Convention solely pertaining to this proceeding; and

                 WHEREAS the Court has ordered certain restrictions on the movement of Respondent

        and the children pending resolution of this matter, and ordered that the Respondent and the chil

         dren’s passports be deposited with the Clerk of Court, all as set forth in its order of July 31,

         201$; and

                 WHEREAS Respondent acknowledges that as a matter of law the children must he re

         turned to their home in Israel, but states that for certain medical reasons of her own she wishes to

         delay the return until a time that will be no later than January 24, 2019; and

                 WHEREAS the parties desire to avoid the additional costs involved in litigating this mat

         ter of the delay;

                 NOW, THEREFORE the parties hereto stipulate and the Court ORDERS as follows:

                 The preamble to this agreement and order is an integral part hereof.

                 Respondent shall return the children to Israel, leaving for Israel no later than the 24th day

         of January, 2019, unless international air travel is suspended due to a force majeure, in which

         case the children shall be returned to Israel immediately when air travel to Israel resumes (“The

         Return Date”).

                 Respondent shall provide Petitioner with the flight itinerary for herself and the children at

         least 5 days prior to their departure from New York and Respondent shall return with the children

         to the address: Shalom Yehuda 18, apt 12, Jerusalem, Israel, upon their arrival in Israel.

                 Respondent shall be responsible for travel costs of the children in connection with this

         stipulation.

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                    Respondent and the children’s passports will not be released to Respondent by the Clerk

             of Court until such time as Petitioner’s attorney has confirmed his receipt of the flight itineraty.

                     If Respondent does not return the children to Israel on or before the Return Date, Peti
                                                                                                             e is
             tioner is authorized to take the children there himself, and the United States Marshal’s Servic
                                                                                                      In this in
             instructed to assist him in obtaining physical custody of the children for this purpose.

             stance Respondent shall also be responsible for Petitioner’s travel expenses.
                                                                                                  Date, Peti
                     If Respondent does not return the children to Israel on or before the Return
                                                                                                 the children’s
             tioner is also authorized to request and receive any travel documents necessary for

              travel without Respondent’s consent.
                                                                                           Order shall not be
                       Pursuant to Article 19 of the Hague Convention this Stipulation and

              taken to be a determination on the merits of any custody issue.
                                                                                                 presence in the
                      The parties agree, and the court determines, that the children’s continued

                                                                                             alter or affect Is
              United States is merely a temporary absence from Israel, and shall in no sense
                                                                                             ce and or home state
              rael’s status as the children’s home, and as their country of habitual residen

              as these terms are used in the Hague Convention and the UCC]EA.

                      The parties each waive counsel fee from the other.

                                                                                                 be deemed the
                      This stipulation may be signed in counterparts. Facsimile signatures shall

              equivalent of originals.

                                                                                                 t in accordance
                      The parties shall submit this Stipulation to the Court for entry ofjudgmen

              therewith.

              Dated: August       2018




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  YISRA.EL BARON                                      CHANA SHALMON[ BARON




  STAlE Of NEW YORK          )
  COUNTY OF       )
                 On this              of
                                           ‘4Q,         2018, before me, the undersigned, a Notary
  Public in and tbr said State. personally appeared ClIANA SHALMONI BARON personally
  known to tn.e or proved to me on the basis of satisfactory evidence to be the individual whose
  name is subscribed to the within instrument and acknowledged to me that she executed the same
  in her capacity and that by her signature on the instrument, the individual, or the person on be
  half of which the individual acted, executed the instrumenL


                                       NOTARY PUBLIC

                                                                               ELIAS KAPELUSCHNIK
                                                                         NOTARY PUBLIC-STATE OF NEW YORK
                                                                                 No.01 KA6359720
  STATE OF NEW YORK              )                                            Qualified In Kings County
  COUNTY Of                      )                                        mission Expires 06-05-2021

                 On this         day of   ________
                                                      2018, befbre me, the undersigned, a Notary
 Public in and for said State, personally appeared Yl$RAEI. BARON personally known to me or
 proved to me on the basis of satisfactory evidence to be the individual whose name is subscribed
 to the within instrument and acknowledged to me that he executed the same in his capacity and
 that by his signature on the instrument, the individual, or the person on behalf of which the Indi
 vidual acted, executed the instrument.




                                              NOTARY PUBLIC


 $0 ORDERED.

 Dated: Brooklyn, New York
        August, 2018


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                                                                                 ONI BARON
        Yl SRA                                                     Cl-lANA SHALM




        STATE Of NEW YORK
        COUNTY OF       )                                                                                fl, a Notat
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                                                  NOTARY PUBLIC



      CITY OF JERUSALEM

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        that by his signat
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        vidual acted, executed the




        SO ORDERED.

        Dated: Brooklyn, New York
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                                                                                 UNITED STATES OF
                                                                                                  AM
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                 August, 2018

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                                            JUDGE ALLYNE R ROSS, U.S.D.J.




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